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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION




          FrameTech LLC,                                Case No. 2:23-cv-452

                 Plaintiff,                             Patent Case

                 v.                                     Jury Trial Demanded

          CA, Inc.,

                 Defendant.



                               COMPLAINT FOR PATENT INFRINGEMENT

         1.    Plaintiff FrameTech LLC (“Plaintiff”), through its attorneys, complains of CA,

Inc. (“Defendant”), and alleges the following:

                                                 PARTIES

         2.    Plaintiff FrameTech LLC is a corporation organized and existing under the laws

of Delaware that maintains its principal place of business at 261 West 35th St, Suite 1003, New

York, NY 10001.

         3.    Defendant CA, Inc. is a corporation organized and existing under the laws of

Delaware that maintains an established place of business at 5465 Legacy Drive, Plano, Texas

75024.

                                             JURISDICTION

         4.    This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.




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       5.      This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).

       6.      This Court has personal jurisdiction over Defendant because it has engaged in

systematic and continuous business activities in this District. As described below, Defendant has

committed acts of patent infringement giving rise to this action within this District.

                                                    VENUE

       7.      Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendant has

an established place of business in this District. In addition, Defendant has committed acts of

patent infringement in this District, and Plaintiff has suffered harm in this district.

                                              PATENT-IN-SUIT

       8.      Plaintiff is the assignee of all right, title and interest in United States Patent No.

8,042,107 (the “Patent-in-Suit”); including all rights to enforce and prosecute actions for

infringement and to collect damages for all relevant times against infringers of the Patent-in-Suit.

Accordingly, Plaintiff possesses the exclusive right and standing to prosecute the present action

for infringement of the Patent-in-Suit by Defendant.

                                              THE ’107 PATENT

       9.      The ’107 Patent is entitled “System and method for expediting and automating

mainframe computer setup,” and issued 2011-10-18. The application leading to the ’107 Patent

was filed on 2005-07-18. A true and correct copy of the ’107 Patent is attached hereto as Exhibit

1 and incorporated herein by reference.

                              COUNT 1: INFRINGEMENT OF THE ’107 PATENT

       10.     Plaintiff incorporates the above paragraphs herein by reference.

       11.     Direct Infringement. Defendant has been and continues to directly infringe claim

1 of the ’107 Patent in at least this District by making, using, offering to sell, selling and/or
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importing, without limitation, at least the Defendant products identified in the charts

incorporated into this Count below (among the “Exemplary Defendant Products”) that infringe

claim 1 of the ’107 Patent also identified in the charts incorporated into this Count below literally

or by the doctrine of equivalents. On information and belief, numerous other devices that

infringe claim 1 ’107 Patent have been made, used, sold, imported, and offered for sale by

Defendant and/or its customers.

       12.     Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, claim 1, by having its employees internally test and use these Exemplary

Products.

       13.     Actual Knowledge of Infringement. The service of this Complaint, in

conjunction with the attached claim charts and references cited, constitutes actual knowledge of

infringement as alleged here.

       14.     Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

for sale, market, and/or import into the United States, products that infringe the ’107 Patent. On

information and belief, Defendant has also continued to sell the Exemplary Defendant Products

and distribute product literature and website materials inducing end users and others to use its

products in the customary and intended manner that infringes the ’107 Patent. See Exhibit 2

(extensively referencing these materials to demonstrate how they direct end users to commit

patent infringement).

       15.     Induced Infringement. At least since being served by this Complaint and

corresponding claim charts, Defendant has actively, knowingly, and intentionally continued to

induce infringement of the ’107 Patent, literally or by the doctrine of equivalents, by selling




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Exemplary Defendant Products to their customers for use in end-user products in a manner that

infringes claim 1 of the ’107 Patent.

        16.     Exhibit 2 includes charts comparing claim 1 to the Exemplary Defendant

Products. As set forth in these charts, the Exemplary Defendant Products practice the technology

claimed by the ’107 Patent. Accordingly, the Exemplary Defendant Products incorporated in

these charts satisfy all elements of claim 1.

        17.     Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 2.

        18.     Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                                                 JURY DEMAND

        19.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury on all issues so triable.

                                             PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the following relief:

        A.      A judgment that the ’107 Patent is valid and enforceable

        B.      A judgment that Defendant has infringed directly and indirectly claim 1 of the

                ’107 Patent;

        C.      An accounting of all damages not presented at trial;

        D.      A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

                for Defendant's continuing or future infringement, up until the date such judgment

                is entered with respect to the ’107 Patent, including pre- or post-judgment interest,

                costs, and disbursements as justified under 35 U.S.C. § 284;


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      E.      And, if necessary, to adequately compensate Plaintiff for Defendant's

              infringement, an accounting:

               i.   that this case be declared exceptional within the meaning of 35 U.S.C. § 285

                    and that Plaintiff be awarded its reasonable attorneys fees against Defendant

                    that it incurs in prosecuting this action;

              ii.   that Plaintiff be awarded costs, and expenses that it incurs in prosecuting

                    this action; and

             iii.   that Plaintiff be awarded such further relief at law or in equity as the Court

                    deems just and proper.


Dated: September 29, 2023                     Respectfully submitted,

                                              /s/ Isaac Rabicoff
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